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AO 93C (Rev 8/18) Warrant by Telephone ofOther Reliable Electronic Means        ^-30
                                                                           Return

Case No.: 2;20-mj-3689                  Date and time warrant executed:                Copy of warrant and inventory left with:
                                                                                       N/A
Inventory made in the presence of:
SA Gitana Gotay
Inventory of the property taken and name of any person{s) seized:


     Subject Device N1- Not searched no data seized. Locked and discontinued attempts to gain access.
     Subject Device N2- Appx 60.12GB of data extracted from the phone. Photos, videos, messages,
     contacts and other digital evidence collected.




                                                                       Certification



        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date: 12/08/2020
                                                                                              Executing officer s signature

                                                                           TFO Jeff Kishi
                                                                                                 Printed name and title
